953 F.2d 639
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sylvester A. RICHARDSON, Plaintiff-Appellant,v.Eugene M. GRIZZARD, Warden, Southhampton CorrectionalCenter;  J.H. Snodgrass, Warden, Camp 22;  Donald R.Guillory, Warden, Camp 3;  Vanessa R. Crawford, Warden, Camp16;  John B. Taylor, Warden, Staunton Correctional Center,Defendants-Appellees.
    No. 91-7208.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 1, 1991.Decided Jan. 14, 1992.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke, No. CA-91-1-R, James C. Turk, Chief District Judge.
      Sylvester A. Richardson, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before K.K. HALL and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Sylvester A. Richardson appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Richardson v. Grizzard, No. CA-91-1-R (W.D.Va. July 18, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    